

People v Garcia (2024 NY Slip Op 00360)





People v Garcia


2024 NY Slip Op 00360


Decided on January 25, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 25, 2024

Before: Moulton, J.P., Kapnick, Mendez, Higgitt, O'Neill Levy, JJ. 


SCI No. 2758/15 Appeal No. 1533 Case No. 2019-1187 

[*1]The People of the State of New York, Respondent,
vEva Garcia, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, New York County (Robert M. Mandelbaum, J., at plea; Kevin McGrath, J., at sentencing), rendered December 15, 2017, convicting defendant of petit larceny, and sentencing her to time served, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed. 
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 25, 2024








